Case 4:21-cv-00672-P Document 1-3 Filed 05/21/21   Page 1 of 14 PageID 17




      EXHIBIT 2
          A CERTIFIED COPY
               05/13/2021
     Case  4:21-cv-00672-P
       ATTEST:
       THOMAS A. WILDER
                           Document 1-3 Filed 05/21/21                  Page 2 of 14 PageID 18
          DISTRICT CLERK
                                                                                                            FILED
       TARRANT COUNTY, TEXAS
       BY: /s/ Emma Munoz
                                                                                               TARRANT COUNTY
                                                                                               4/14/2021 11:10 AM
                                                   067-324668-21
                                    CAUSE NO. _________________                               THOMAS A. WILDER
                                                                                                 DISTRICT CLERK

KATHLYN CAROL BELLAU,                                      §       IN THE DISTRICT COURT
    Plaintiff                                              §
                                                           §
v.                                                         §       TARRANT COUNTY, TEXAS
                                                           §
BIG LOTS STORES, INC.,                                     §
     Defendant.                                            §       _______ JUDICIAL DISTRICT

                                PLAINTIFF'S ORIGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

            NOW COMES KATHLYN CAROL BELLAU, Plaintiff in the above-entitled and

numbered cause, and brings this suit against BIG LOTS STORES, INC. Defendant herein, and for

cause of action shows the following:

                                                  I.
                                              DISCOVERY

            The Plaintiff intends that discovery in this case shall proceed as a Level 3 case pursuant to

Rule 190.4 of the Texas Rules of Civil Procedure. Plaintiff requests that a Scheduling Order be

entered. Currently the State of Texas is operating under various COVID guidelines and rules

including an extension or abatement of the statute of limitations.              Plaintiff pleads for all

reasonable relief under all COVID rules.

                                                   II.
                                                 PARTIES

            Plaintiff, KATHLYN CAROL BELLAU, is a resident of Tarrant County, Texas.

            Defendant, BIG LOTS STORES, INC. is a corporation authorized and doing business in

Texas. Defendant may be served with citation by serving Big Lots Stores Inc. located at 4900 E.

Dublin Granville Road, Westerville, Ohio 43081-7651 by CERTIFIED MAIL, RETURN

RECEIPT REQUESTED.

                                                    III.


Plaintiff's Original Petition                                                                       Page 1
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       TARRANT COUNTY, TEXAS
       BY: /s/ Emma Munoz


                                    JURISDICTION AND VENUE

            Plaintiff is seeking damages within the jurisdictional limits of the Court of not more than

$500,000, based upon the information known at the time of this filing, however the amount of

monetary relief actually awarded will ultimately be determined by the trier of fact.

            Venue is proper in Tarrant County, Texas pursuant to Section 15.002 of the Texas Civil

Practice and Remedies Code, as Tarrant is the county where the incident happened and where

Plaintiff resides.

                                                  IV.
                                      Purpose of this Civil Action

            This civil action is brought by the Plaintiff against the Defendant to seek justice and the

purpose of exercising the Plaintiff's right to access to the courts under the Constitution and laws

of the State of Texas:

      1. To hold Defendant responsible and accountable for their wrongful conduct;

      2. To seek and obtain fair, reasonable, and just compensation for her injuries and damages
         arising from the incident caused by the Defendant;

      3. To seek and obtain an award of exemplary damages, if appropriate, against each of the
         Defendant as a civil penalty or by way of civil punishment for their wrongful conduct but
         not for compensatory purposes and that are neither economic damages nor noneconomic
         damages.

                                             V.
                                NEGLIGENCE/PREMISES LIABILITY

            On or about May 23, 2020, Plaintiff KATHLYN CAROL BELLAU was a patron of Big

Lots! located at 6425 McCart Avenue, Fort Worth, Texas 76133 for the purpose of transacting

business therein, and while in the business Plaintiff was caused to slip and fall upon the floor of

the premises of the Defendant because of the negligence of the Defendant and their agents, servants

and employees. Such negligent acts and omissions were committed by the Defendants’ agents,

servants and employees while in the course and scope of their employment with said Defendant,


Plaintiff's Original Petition                                                                     Page 2
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       TARRANT COUNTY, TEXAS
       BY: /s/ Emma Munoz


and each of which acts, singularly or collectively, was a proximate cause of the damages and

injuries sustained by the Plaintiff. All of the following acts of negligence, committed on the part

of the Defendants, its agents, servants and employees, occurred in Tarrant County, Texas, to-wit:

            (a)         In failing to inspect the floor area for dangerous conditions when they knew or
                        should have known that it was unsafe for the patrons of the store;

            (b)         In failing to warn the patrons of the store, and the Plaintiff in particular, of such
                        hazardous and dangerous condition;

            (c)         In failing to properly train and/or monitor employees;

            (d)         In failing to timely, clean or mop the dangerous condition;

            (e)         Failed to put up signs to warn patrons of the hazardous and dangerous condition;

            (f)         Provided or allowed to exist an unreasonably dangerous condition on the occasion
                        in question during hours of business known by Defendant to be occupied and used
                        by their patrons; and

            (g)         Failed to adequately warn the Plaintiff that the dangerous condition existed;
                        and in other respects.

            Each of the foregoing acts or omissions by Defendant, whether taken singly or in

combination, was a proximate cause of Plaintiff’s injuries and damages as more fully set out below.

            Defendant was the owner occupier of the premises at the time of the occurrence where the

Plaintiff was injured and the Defendant failed to use ordinary care to reduce or eliminate an

unreasonable risk of harm created by a premises condition that the Defendant knew about or in the

exercise of ordinary care should have known about. The Defendants’ conduct was a proximate

cause of the Plaintiff's damages set forth herein.

            The store manager failed to properly train employees to prevent the occurrence and

investigate the occurrence.

            At the time of the occurrence the Plaintiff was an invitee as defined by law.

                                               VI.
                                 PREMISE OWNER/CONTROL LIABILITY


Plaintiff's Original Petition                                                                           Page 3
          A CERTIFIED COPY
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          DISTRICT CLERK
       TARRANT COUNTY, TEXAS
       BY: /s/ Emma Munoz


            Defendant was the owner occupier of the premises at the time of the occurrence where the

Plaintiff was injured and the Defendant failed to use ordinary care to reduce or eliminate an

unreasonable risk of harm created by a premises condition, the walkway, that the Defendant

created and knew about or in the exercise of ordinary care should have known about was

unreasonably dangerous.               The Defendant's negligent conduct was a proximate cause of the

Plaintiff's damages set forth herein.

            At the time of the occurrence, the Plaintiff was an invitee as defined by law.

                                                    VII.
                                                  DAMAGES

            Plaintiff would show that as a direct and proximate result of the acts and/or omissions of

negligence aforementioned, she was caused to suffer serious and permanent personal injuries to

her body, all of which have caused her in the past, and will cause her in the future, physical pain,

mental anguish, physical impairment, disfigurement, and medical and hospital expenses, for which

she should be compensated in accordance with the laws of the State of Texas. The damages

sought are within the jurisdictional limits of the Court, with a monetary relief of over $200,000

but under $1,000,000.

                                                    VIII.
                                              RULE 28 DEMAND

            Pursuant to Rule 28 of the Texas Rules of Civil Procedure, if some other individual(s),

partnership(s), corporation(s), association(s), or business entity(s) of any type are owned and/or

operated under the name or names of the above Defendant, Plaintiff hereby demands that the

appropriate entity be substituted.

                                                     IX.
                                PLAINTIFF’S RULE 193.7 NOTICE TO DEFENDANT

             Pursuant to Rule 193.7, this shall serve as notice that Plaintiff intends to use all documents


Plaintiff's Original Petition                                                                        Page 4
          A CERTIFIED COPY
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       TARRANT COUNTY, TEXAS
       BY: /s/ Emma Munoz


produced by Defendant during discovery, including but not limited to those in response to

Plaintiff’s Requests for Disclosure, Requests for Production of Documents, and Deposition

Exhibits at any pretrial proceeding or trial of this cause

                                                X.
                                              PRAYER
            WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that the Defendants be cited

to appear and answer herein, and that upon final hearing hereof, Plaintiff have judgment against

Defendants for all damages to which he is entitled under the laws of the State of Texas, which

amount does not exceed the maximum jurisdictional limits of this Court; for pre-judgment interest

in accordance with the law; for interest on the judgment; cost of suit; and for such other and further

relief, either at law or in equity, to which Plaintiff may be entitled.

                                              Respectfully submitted,

                                                /s/ Robert Haslam_______
                                                ROBERT HASLAM
                                                State Bar No. 09201900
                                                The Haslam Firm
                                                555 South Summit Avenue
                                                Fort Worth, Texas 76104
                                                817-332-3115 Telephone
                                                817-332-3148 Facsimile
                                                robert@hg555.com
                                                carrie@hg555.com
                                                ATTORNEYS FOR PLAINTIFF




Plaintiff's Original Petition                                                                   Page 5
              A CERTIFIED COPY
                  05/13/2021
     Case THOMAS
           4:21-cv-00672-P
          ATTEST:
                  A. WILDER
                             Document 1-3 Filed 05/21/21               Page 7 of 14 PageID 23
              DISTRICT CLERK
                                                 067-324668-21                                             FILED
           TARRANT COUNTY, TEXAS
           BY: /s/ Emma Munoz
                                                                                              TARRANT COUNTY
                                                                                              4/26/2021 10:06 AM
                                            CAUSE NO. 067-324668-21                          THOMAS A. WILDER
                                                                                                DISTRICT CLERK

KATHLYN CAROL BELLAU,                                     §      IN THE DISTRICT COURT
    Plaintiff                                             §
                                                          §
v.                                                        §      TARRANT COUNTY, TEXAS
                                                          §
BIG LOTS STORES, INC.,                                    §
     Defendant.                                           §      67th JUDICIAL DISTRICT

                                     PLAINTIFF'S FIRST AMENDED PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

           NOW COMES KATHLYN CAROL BELLAU, Plaintiff in the above-entitled and

numbered cause, and brings this suit against BIG LOTS STORES, INC. Defendant herein, and for

cause of action shows the following:

                                                     I.
                                                 DISCOVERY

           The Plaintiff intends that discovery in this case shall proceed as a Level 3 case pursuant to

Rule 190.4 of the Texas Rules of Civil Procedure. Plaintiff requests that a Scheduling Order be

entered. Currently the State of Texas is operating under various COVID guidelines and rules

including an extension or abatement of the statute of limitations.             Plaintiff pleads for all

reasonable relief under all COVID rules.

                                                     II.
                                                   PARTIES

           Plaintiff, KATHLYN CAROL BELLAU, is a resident of Tarrant County, Texas.

           Defendant, BIG LOTS STORES, INC. is a corporation authorized and doing business in

Texas. Citation has been requested.

                                                    III.
                                          JURISDICTION AND VENUE

           Plaintiff is seeking damages within the jurisdictional limits of the Court of not more than



Plaintiff's First Amended Petition                                                                 Page 1
              A CERTIFIED COPY
                 05/13/2021
    Case THOMAS
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                 A. WILDER
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           TARRANT COUNTY, TEXAS
           BY: /s/ Emma Munoz


$500,000 based upon the information known at the time of this filing, however the amount of

monetary relief actually awarded will ultimately be determined by the trier of fact.

           Venue is proper in Tarrant County, Texas pursuant to Section 15.002 of the Texas Civil

Practice and Remedies Code, as Tarrant is the county where the incident happened and where

Plaintiff resides.

                                                     IV.
                                         Purpose of this Civil Action

           This civil action is brought by the Plaintiff against the Defendant to seek justice and the

purpose of exercising the Plaintiff's right to access to the courts under the Constitution and laws

of the State of Texas:

     1. To hold Defendant responsible and accountable for their wrongful conduct;

     2. To seek and obtain fair, reasonable, and just compensation for her injuries and damages
        arising from the incident caused by the Defendant;

     3. To seek and obtain an award of exemplary damages, if appropriate, against each of the
        Defendant as a civil penalty or by way of civil punishment for their wrongful conduct but
        not for compensatory purposes and that are neither economic damages nor noneconomic
        damages.

                                                  V.
                                     NEGLIGENCE/PREMISES LIABILITY

           On or about May 23, 2020, Plaintiff KATHLYN CAROL BELLAU was a patron of Big

Lots! located at 6425 McCart Avenue, Fort Worth, Texas 76133 for the purpose of transacting

business therein, and while in the business Plaintiff was caused to slip and fall upon the floor of

the premises of the Defendant because of the negligence of the Defendant and their agents, servants

and employees. Such negligent acts and omissions were committed by the Defendants’ agents,

servants and employees while in the course and scope of their employment with said Defendant,

and each of which acts, singularly or collectively, was a proximate cause of the damages and

injuries sustained by the Plaintiff. All of the following acts of negligence, committed on the part


Plaintiff's First Amended Petition                                                               Page 2
              A CERTIFIED COPY
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              DISTRICT CLERK
           TARRANT COUNTY, TEXAS
           BY: /s/ Emma Munoz


of the Defendants, its agents, servants and employees, occurred in Tarrant County, Texas, to-wit:

           (a)        In failing to inspect the floor area for dangerous conditions when they knew or
                      should have known that it was unsafe for the patrons of the store;

           (b)        In failing to warn the patrons of the store, and the Plaintiff in particular, of such
                      hazardous and dangerous condition;

           (c)        In failing to properly train and/or monitor employees;

           (d)        In failing to timely, clean or mop the dangerous condition;

           (e)        Failed to put up signs to warn patrons of the hazardous and dangerous condition;

           (f)        Provided or allowed to exist an unreasonably dangerous condition on the occasion
                      in question during hours of business known by Defendant to be occupied and used
                      by their patrons; and

           (g)        Failed to adequately warn the Plaintiff that the dangerous condition existed;
                      and in other respects.

           Each of the foregoing acts or omissions by Defendant, whether taken singly or in

combination, was a proximate cause of Plaintiff’s injuries and damages as more fully set out below.

           Defendant was the owner occupier of the premises at the time of the occurrence where the

Plaintiff was injured and the Defendant failed to use ordinary care to reduce or eliminate an

unreasonable risk of harm created by a premises condition that the Defendant knew about or in the

exercise of ordinary care should have known about. The Defendants’ conduct was a proximate

cause of the Plaintiff's damages set forth herein.

           The store manager failed to properly train employees to prevent the occurrence and

investigate the occurrence.

           At the time of the occurrence the Plaintiff was an invitee as defined by law.

                                                   VI.
                                     PREMISE OWNER/CONTROL LIABILITY

           Defendant was the owner occupier of the premises at the time of the occurrence where the

Plaintiff was injured and the Defendant failed to use ordinary care to reduce or eliminate an


Plaintiff's First Amended Petition                                                                    Page 3
              A CERTIFIED COPY
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        THOMAS A. WILDER
              DISTRICT CLERK
           TARRANT COUNTY, TEXAS
           BY: /s/ Emma Munoz


unreasonable risk of harm created by a premises condition, the walkway, that the Defendant

created and knew about or in the exercise of ordinary care should have known about was

unreasonably dangerous.              The Defendant's negligent conduct was a proximate cause of the

Plaintiff's damages set forth herein.

           At the time of the occurrence, the Plaintiff was an invitee as defined by law.

                                                   VII.
                                                 DAMAGES

           Plaintiff would show that as a direct and proximate result of the acts and/or omissions of

negligence aforementioned, she was caused to suffer serious and permanent personal injuries to

her body, all of which have caused her in the past, and will cause her in the future, physical pain,

mental anguish, physical impairment, disfigurement, loss of earning capacity, and medical and

hospital expenses, for which she should be compensated in accordance with the laws of the State

of Texas. The damages sought are within the jurisdictional limits of the Court, with a monetary

relief of over $200,000 but under $1,000,000.

                                                   VIII.
                                             RULE 28 DEMAND

           Pursuant to Rule 28 of the Texas Rules of Civil Procedure, if some other individual(s),

partnership(s), corporation(s), association(s), or business entity(s) of any type are owned and/or

operated under the name or names of the above Defendant, Plaintiff hereby demands that the

appropriate entity be substituted.

                                                 IX.
                            PLAINTIFF’S RULE 193.7 NOTICE TO DEFENDANT

            Pursuant to Rule 193.7, this shall serve as notice that Plaintiff intends to use all documents

produced by Defendant during discovery, including but not limited to those in response to

Plaintiff’s Requests for Disclosure, Requests for Production of Documents, and Deposition


Plaintiff's First Amended Petition                                                                  Page 4
              A CERTIFIED COPY
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        THOMAS A. WILDER
              DISTRICT CLERK
           TARRANT COUNTY, TEXAS
           BY: /s/ Emma Munoz


Exhibits at any pretrial proceeding or trial of this cause.

                                                X.
                                              PRAYER
           WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that the Defendants be cited

to appear and answer herein, and that upon final hearing hereof, Plaintiff have judgment against

Defendants for all damages to which he is entitled under the laws of the State of Texas, which

amount does not exceed the maximum jurisdictional limits of this Court; for pre-judgment interest

in accordance with the law; for interest on the judgment; cost of suit; and for such other and further

relief, either at law or in equity, to which Plaintiff may be entitled.

                                              Respectfully submitted,

                                                /s/ Robert Haslam_______
                                                ROBERT HASLAM
                                                State Bar No. 09201900
                                                The Haslam Firm
                                                555 South Summit Avenue
                                                Fort Worth, Texas 76104
                                                817-332-3115 Telephone
                                                817-332-3148 Facsimile
                                                robert@hg555.com
                                                ATTORNEYS FOR PLAINTIFF

                                     CERTIFICATE OF SERVICE

        I certify that a true and correct copy of the above document was served on each attorney
of record or party in accordance with Rule 21a of the Texas Rules of Civil Procedure on April
26, 2021.

                                                        _____/s/ Robert Haslam____
                                                        ROBERT HASLAM




Plaintiff's First Amended Petition                                                              Page 5
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        THOMAS A. WILDER                  067-324668-21                                              FILED
         DISTRICT CLERK                                                                 TARRANT COUNTY
      TARRANT COUNTY, TEXAS                                                              5/13/2021 2:53 PM
      BY: /s/ Emma Munoz                                                               THOMAS A. WILDER
                                   CAUSE NO. 067-324668-21                                DISTRICT CLERK


 KATHLYN CAROL BELLAU,                         § IN THE DISTRICT COURT
                                               §
          Plaintiff,                           §
                                               §
 V.                                            § 67TH JUDICIAL DISTRICT
                                               §
 BIG LOTS STORES, INC.,                        §
                                               §
          Defendants.                          § TARRANT COUNTY, TEXAS


                              DEFENDANT BIG LOTS STORES, INC.
                                    ORIGINAL ANSWER

         COMES NOW, BIG LOTS STORES, INC., one of the Defendants herein, and files its

Original Answer as follows:

                                            I.
                                      GENERAL DENIAL

         Defendant denies each and every, all and singular, material allegations contained within

Plaintiffs’ pleadings and any amendments or supplements thereto and demands strict proof thereof

in accordance with the Texas Rules of Civil Procedure.

                                             II.
                                        JURY DEMAND

         In accordance with Rule 21 6 of the TEXAS RULES       OF   CIVIL PROCEDURE, Defendant

demands a trial by jury.

                                               III.
                                         193.7 NOTICE

         Pursuant to Rule 193.7 of the TEXAS RULES OF CIVIL PROCEDURE, Defendant hereby gives

actual notes to Plaintiff that any and all documents produced by Plaintiff may be used against

Plaintiff at any pretrial proceeding or at the trial of this matter without the necessity of

authenticating the documents.


DEFENDANT BIG LOTS STORES, INC.’s ORIGINAL ANSWER – PAGE 1
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        THOMAS A. WILDER
         DISTRICT CLERK
      TARRANT COUNTY, TEXAS
      BY: /s/ Emma Munoz



         WHEREFORE, PREMISES CONSIDERED, BIG LOTS STORES, INC. prays that

Plaintiff take nothing by this suit, that Plaintiff be required to pay Defendant’s costs, and for such

other and further relief, both general and special, at law and in equity, to which Defendant may

show itself justly entitled.




                                               Respectfully submitted,

                                               MAYER LLP
                                               750 N. St. Paul Street, Suite 700
                                               Dallas, Texas 75201
                                               214.379.6900 / Fax 214.379.6939

                                               By:    /s/ Zach T. Mayer
                                                      Zach T. Mayer
                                                      State Bar No. 24013118
                                                      zmayer@mayerllp.com
                                                      Sara Krumholz
                                                      State Bar No. 24060579
                                                      skrumholz@mayerllp.com

                                               ATTORNEYS FOR DEFENDANT
                                               BIG LOTS STORES, INC.




DEFENDANT BIG LOTS STORES, INC.’s ORIGINAL ANSWER – PAGE 2
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  Case  4:21-cv-00672-P Document 1-3 Filed 05/21/21
     A CERTIFIED COPY
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        ATTEST: 05/13/2021
        THOMAS A. WILDER
         DISTRICT CLERK
      TARRANT COUNTY, TEXAS
      BY: /s/ Emma Munoz
                                CERTIFICATE OF SERVICE

       This is to certify that on the 13th day of May 2021, a true and correct copy of the foregoing
has been forwarded to all counsel of record as follows:

 Via E-File
 ROBERT HASLAM
 State Bar No. 09201900
 The Haslam Firm
 555 South Summit Avenue
 Fort Worth, Texas 76104
 817-332-3115 Telephone
 817-332-3148 Facsimile
 robert@hg555.com
 carrie@hg555.com
 Attorney for Plaintiffs


                                                       /s/ Zach T. Mayer
                                                          Zach T. Mayer




DEFENDANT BIG LOTS STORES, INC.’s ORIGINAL ANSWER – PAGE 3
7613583v1 (79539.00106)
